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14
                                UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
16

17   ASIF MEHEDI, Individually and on Behalf of All          Case No.: 5:21-cv-06374-BLF
     Others Similarly Situated,
18                                                           CLASS ACTION
                               Plaintiff,
19                                                           LEAD PLAINTIFF’S REQUEST FOR
           v.                                                JUDICIAL NOTICE OF NEWLY-
20                                                           AVAILABLE INFORMATION
     VIEW, INC. f/k/a CF FINANCE ACQUISITION
21   CORP. II, RAO MULPURI, VIDUL PRAKASH,                   Judge: Hon. Beth L. Freeman
     HOWARD W. LUTNICK, PAUL PION, ALICE                     Courtroom: 3, 5th Floor
22   CHAN, ANSHU JAIN, ROBERT J.
     HOCHBERG, CHARLOTTE S. BLECHMAN,
23   CF FINANCE HOLDINGS II, LLC, CANTOR
     FITZGERALD & CO., CANTOR FITZGERALD,
24   L.P., AND CF GROUP MANAGEMENT, INC.,
25                             Defendants.
26

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                                                                                Case No. 5:21-cv-06374-BLF
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 1          Lead Plaintiff hereby requests that this Court take judicial notice of the derivative complaint
 2   filed in Siseles v. Lutnick, et al., Case No. 2023-1152-JTL, Verified Class Action Complaint, ECF
 3   No. 9 (Del. Ch. Nov. 20, 2023), attached as Exhibit 1 to the Declaration of Laurence D. King in
 4   Support of Lead Plaintiff’s Request for Judicial Notice (the “King Decl.”) filed concurrently
 5   herewith (the “Deriv. Compl.”), which was unsealed on November 20, 2023.
 6          In particular, ¶ 53 of the Deriv. Compl. contains a slide from Cantor Fitzgerald, L.P.’s
 7   (“Cantor”) and Cantor Fitzgerald & Co.’s (“CF&Co.”) presentation of the results of their due
 8   diligence to CF II’s Board (the “Due Diligence Presentation”), which was produced by CF II (k/n/a
 9   View) in response to the derivative plaintiffs’ demands for inspection of books and records under
10   8 Del. C. §220. Deriv. Compl. ¶¶53, 22 fn. 2. The slide is titled “Executive Summary” and states
11   that in addition to the “$24.5M liability for an issue identified in IGU’s manufactured and sold prior
12   to June’19” recorded in 2019 (the warranty accrual) for the “Type II Spacer” (the Defect), Cantor
13   and CF&Co. “have identified an additional $59mm of potential debt-like items at July ’20”
14   requiring “[a]djustments [that] are mainly comprised of the Type II loss contingency noted above
15   ($24.5M)” and other items. Deriv. Compl. ¶53. This information is consistent with and supports
16   the SAC’s allegations because it shows that the CF Defendants had in fact identified “an additional
17   $59mm of potential debt-like items at July’20” that were “mainly comprised” of costs attributable
18   to the Defect yet failed to disclose these costs. Id.
19          For the reasons set forth below, consideration of this document is permitted pursuant to the
20   incorporation-by-reference doctrine, Rule 201 of the Federal Rules of Evidence, and supporting
21   case law.
22   I.     LEGAL STANDARD
23          In considering a Rule 12(b)(6) motion to dismiss, courts may consider “documents attached
24   to the complaint, documents incorporated by reference in the complaint, or matters of judicial
25   notice — without converting the motion to dismiss into a motion for summary judgment.” U.S. v.
26   Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). “Courts may take judicial notice of facts that are “not
27   subject to ‘reasonable dispute.’” Perez v. DXC Tech. Servs. LLC, No. 17-CV-06066-BLF, 2020 WL
28   5517276, at *2 (N.D. Cal. Sept. 14, 2020) (Freeman, J.) (citing Fed. R. Evid. 201(b)). Such

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 1   “[i]ndisputable facts” are those that are either “generally known within the trial court’s territorial
 2   jurisdiction” or “can be accurately and readily determined from sources whose accuracy cannot
 3   reasonably be questioned.” Perez, 2020 WL 5517276, at *2; Fed. R. Evid. 201(b). Public records,
 4   including judgments and other publicly filed documents, are proper subjects of judicial notice. See,
 5   e.g., United States v. Black, 482 F.3d 1035, 1041 (9th Cir. 2007) (“[Courts] may take notice of
 6   proceedings in other courts, both within and without the federal judicial system, if those
 7   proceedings have a direct relation to matters at issue.”); Romero v. Flowers Bakeries, LLC, No. 14-
 8   CV-05189-BLF, 2016 WL 469370, at *3 (N.D. Cal. Feb. 8, 2016) (granting request for judicial
 9   notice of complaints filed in separate action “[b]ecause the exhibits are court records, which are
10   judicially noticeable . . . and Defendant contests neither their authenticity nor their accuracy”)
11   (Freeman, J.); In re Qualcomm Antitrust Litig., 292 F. Supp. 3d 948, 964 (N.D. Cal. 2017) (taking
12   judicial notice of complaints filed in other actions); Rothman v. Gregor, 220 F.3d 81, 92 (2d Cir.
13   2000) (taking judicial notice of a filed complaint as a public record). “Unlike rule-established
14   judicial notice, incorporation-by-reference is a judicially created doctrine that treats certain
15   documents as though they are part of the complaint itself.” Khoja v. Orexigen Therapeutics, Inc.,
16   899 F.3d 988, 1002 (9th Cir. 2018).
17   II.    ARGUMENT
18          The contents of the Due Diligence Presentation are judicially noticeable for two key
19   reasons. First, the Due Diligence Presentation was incorporated by reference into the SAC. Id.
20   ¶ 64 (“Before reaching its decision, the CF II Board reviewed the results of the due diligence
21   conducted by its management, employees of Cantor and CF II’s advisors . . . .”); see also ¶¶ 57-60,
22   39-40. As such, the Court may take into account the Due Diligence Presentation. See, e.g., Perez,
23   2020 WL 5517276 at *2 (finding Amended Private Attorneys General Act Notice was incorporated
24   by reference where complaint alleged “Plaintiff has complied with the procedures for suit specified
25   in the Labor Code section 2699.3.”); Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038 (9th Cir.
26   2010) (the Ninth Circuit has “extended the doctrine of incorporation by reference to consider
27   documents in situations where the complaint necessarily relies upon a document or the contents of
28   the document are alleged in a complaint, the document’s authenticity is not in question and there

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 1   are no disputed issues as to the document’s relevance.”); United States v. Ritchie, 342 F.3d 903, 908
 2   (9th Cir. 2003) (“Even if a document is not attached to a complaint, it may be incorporated by
 3   reference into a complaint if the plaintiff refers extensively to the document or the document forms
 4   the basis of the plaintiff’s claim.”); Ali v. Intel Corp., No. 18-CV-03981-LHK, 2018 WL 5734673,
 5   at *3 (N.D. Cal. Oct. 31, 2018) (taking judicial notice of documents “incorporated into the
 6   complaint by reference”). And, because the Due Diligence Presentation was incorporated by
 7   reference, the Court “may assume [its] contents are true for purposes of a motion to dismiss under
 8   Rule 12(b)(6).” Khoja, 899 F.3d at 1003, 1015 (9th Cir. 2018) (internal citation omitted).
 9          Second, even if the results of Cantor and CF&Co.’s due diligence were not incorporated by
10   reference (they were), consideration of the Due Diligence Presentation is proper because courts
11   may “take judicial notice of documents on which allegations in the complaint necessarily rely, even
12   if not expressly referenced in the complaint, provided that the authenticity of those documents are
13   not in dispute.” Browning v. Am. Honda Motor Co., 549 F. Supp. 3d 996, 1004 (N.D. Cal. 2021)
14   (citing Golub v. Gigamon Inc., 372 F. Supp. 3d 1033, 1043 (N.D. Cal. 2019), aff’d, 994 F.3d 1102
15   (9th Cir. 2021), and aff’d, 847 F. App’x 368 (9th Cir. 2021)); see also; United Specialty Ins. Co. v.
16   Certain Underwriters at Lloyd’s of London, No. 18-CV-07504-SK, 2019 WL 7810813, at *2 (N.D.
17   Cal. Mar. 19, 2019) (taking judicial notice of insurance policy “because it is integral to the
18   allegations presented in the Complaint and because neither party disputes its authenticity”) (citing
19   Tercica, Inc. v. Insmed Inc., No. C 05–5027 SBA, 2006 WL 1626930, at *8 (N. D. Cal. June 9,
20   2006) (observing that “a court may consider documents alleged in a complaint and essential to a
21   plaintiff’s allegations” and may even “take judicial notice of documents on which allegations in the
22   complaint necessarily rely, even if not expressly referenced in the complaint, provided that the
23   authenticity of those documents is not in dispute.”)) (emphasis in original); Cloud v. Brennan,
24   436 F. Supp. 3d 1290, 1303 (N.D. Cal. 2020) (noting that a Court may take judicial notice of
25   document on which allegations in the complaint necessarily rely and noting “[g]iven that both
26   parties rely on Cloud’s EEO filings, they are likely essential to her claims here.”).
27          Moreover, given that CF II (n/k/a View) itself produced the Due Diligence Presentation
28   (which is Cantor’s and CF&Co.’s own presentation) in response to a books and records inspection

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 1   demand made pursuant to 8 Del. C. § 220, its authenticity cannot be subject to “reasonable dispute”
 2   In re Qualcomm, 292 F. Supp. 3d at 964 (emphasis added) (citing Lee v. City of L.A., 250 F.3d 668,
 3   689 (9th Cir. 2001) (“A court may take judicial notice of matters of public record . . . . But a court
 4   may not take judicial notice of a fact that is subject to reasonable dispute.” (internal quotation marks
 5   omitted)), overruled on other grounds by Galbraith v. Cty. of Santa Clara, 307 F.3d 1119 (9th Cir.
 6   2002); Khoja, 899 F.3d at 999 (9th Cir. 2018) (a court may take judicial notice of “an adjudicative
 7   fact if it is ‘not subject to reasonable dispute.’”) (quoting Fed. R. Evid. 201(b)); Flowers Bakeries,
 8   LLC, 2016 WL 469370, at *3 (similar).
 9   III.   CONCLUSION
10          For all of the foregoing reasons, Lead Plaintiff respectfully requests that the Court consider
11   Exhibit 1 to the King Decl. when deciding defendants’ motions to dismiss the SAC.
12                                            Respectfully submitted,
13                                            KAPLAN FOX & KILSHEIMER LLP
     DATED: December 15, 2023
14                                            By:   /s/ Laurence D. King
                                                        Laurence D. King
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